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KATHY A.F. DAVIS (4022)
JAKE M. GARFIELD (15603)
Assistant Attorneys General
Utah Attorney General’s Office
KENDALL G. LAWS (14700)
Special Assistant Attorney General
SEAN D. REYES (7969)
UTAH ATTORNEY GENERAL
1594 West North Temple, Suite 300
Salt Lake City, Utah 84116
kathydavis@agutah.gov
jgarfield@agutah.gov
klaws@utah.gov

Attorneys for Plaintiffs

                       IN THE UNITED STATES DISTRICT COURT FOR
                       THE DISTRICT OF UTAH, SOUTHERN DIVISION

 STATE OF UTAH, including the UTAH
 SCHOOL AND INSTITUTIONAL TRUST
 LANDS ADMINISTRATION (SITLA), an                   Case No.
 agency of the State of Utah,

                                                COMPLAINT FOR DECLARATORY
         Plaintiffs,                              AND INJUNCTIVE RELIEF

 vs.

 DEB HAALAND, in her official capacity as
 SECRETARY OF THE INTERIOR; the
 DEPARTMENT OF THE INTERIOR, an
 agency of the United States of America;
 TRACY STONE-MANNING, in her official
 capacity as DIRECTOR OF THE BUREAU
 OF LAND MANAGEMENT; and the
 BUREAU OF LAND MANAGEMENT, an
 agency of the United States of America,

         Defendants,
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           Plaintiffs, State of Utah, including the Utah School and Institutional Trust Lands

    Administration (“SITLA”), file this Complaint for Declaratory and Injunctive Relief against

    Defendants, Deb Haaland, in her official capacity as Secretary of the U.S. Department of the

    Interior (“DOI”), the DOI, Tracy Stone-Manning, in her official capacity as the Director of the

    U.S. Bureau of Land Management (“BLM”), and the BLM, and allege as follows:

                                                INTRODUCTION

          1.     The Labyrinth/Gemini Bridges area consists of approximately 303,994 acres of federal

public land located in Grand County, Utah, and entirely within the BLM’s Moab Field Office. The

area provides some of the most sought-after off-highway vehicle (“OHV”) recreation opportunities in

the United States. With tall canyon walls towering above the Green River and massive outcroppings

of entrada sandstone, this scenic region of Utah draws visitors from across the world to enjoy

dispersed camping, motorcycling, jeeping, OHVing, and other recreational activities across a network

of motorized roads and trails.

          2.     The Labyrinth/Gemini Bridges area is essentially surrounded on all three sides by the

Labyrinth Canyon Wilderness Area, Canyonlands National Park, and Arches National Park – three

areas of federal public lands where OHVs1 are prohibited due to the Wilderness Act or National Park

Service regulations. See e.g. 16 U.S.C. § 1131 et seq. The Labyrinth/Gemini Bridges area provides a

wonderful alternative for prime motorized recreation in landscapes similar to the Labyrinth Canyon

Wilderness Area, Canyonlands National Park, or Arches National Park, but free of the OHV

restrictions in those areas.

          3.     In 2020, the BLM initiated the development of a Travel Management Plan (“TMP”)

for the Labyrinth/Gemini Bridges area, called the Labyrinth/Gemini Bridges TMP. The


1
  There terms OHVs (“off-highway vehicles”), ATVs (“all-terrain vehicles”), UTVs (“utility terrain vehicles”), and ORVs
(“off-road vehicles”) are often used interchangeably (although usage between terms can have subtle differences) and
generally refer to vehicles primarily intended to be used off of paved roads.
                                                          2
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Labyrinth/Gemini Bridges TMP evaluated whether to keep roads open, limit them to certain uses, or

close them to all motorized uses.




      Spring Canyon Bottom Road, County Road #1526 (a claimed R.S. 2477 road) – closed under
the BLM’s Labyrinth/Gemini Bridges Decision Record


       4.      After a years-long planning process, the BLM issued its final Decision Record (“DR”)

for the Labyrinth/Gemini Bridges TMP on September 28, 2023. See Exhibit #1, Labyrinth/Gemini

Bridges Travel Management Plan Decision Record. The BLM’s DR ultimately closed motorized

access to 317.2 miles of existing motorized routes within the Travel Management Area (“TMA”),

while limiting access (either to certain types of vehicles or during certain times of the year) on an

additional 98.4 miles. See Exhibit #2, Map of Roads Closed by the Labyrinth Gemini Bridges TMP

DR. As a result, only 712.1 miles of roads were left open year-round to all motorized vehicles. DR,

                                                   3
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at 2.

           5.       Of the 317.2 miles of closed routes, approximately 114 miles are roads currently

subject to a lawsuit brought in this Court by the State and Grand County against the BLM in 2012

under the Quiet Title Act. Grand County v. United States of America, Case No. 2:12-cv-00466-CW

(D. Utah 2012), Dkt. #2 (hereinafter “Grand County R.S. 2477 case”). That lawsuit seeks to quiet title

to numerous roads in Grand County which cross BLM land under the Mining Act of 1866 (usually

referred to as R.S. 2477). That case is currently stayed to allow the State to conduct discovery on the

roads at issue, and to allow for a bellwether case on related legal issues to proceed in Kane County,

Utah.

           6.       Counsel for Plaintiffs are currently conducting discovery on roads included in the

State’s Grand County R.S. 2477 case, including the 114 miles of roads closed in the BLM’s DR that

were already at issue in the R.S. 2477 case.

           7.       As part of the discovery process, Plaintiff’s attorneys regularly visit and drive the

length of claimed R.S. 2477 roads, primarily in the company of preservation witnesses. Visiting and

driving the claimed R.S. 2477 roads is an essential step in Plaintiff’s discovery process and vital to

the resolution of this case.

           8.       Prior to the BLM’s closure of 114 miles of claimed R.S. 2477 roads in the

Labyrinth/Gemini Bridges TMA, Plaintiff’s attorneys planned to visit and drive the length of these

roads during the current R.S. 2477 deposition block. These drives would have occurred in the

company of preservation witnesses as part of the discovery process.

           9.       Plaintiff’s attorneys are now barred from conducting their established discovery

process of driving with witnesses on the 114 miles of claimed R.S. 2477 roads closed by the BLM’s

DR. Many of the witnesses are elderly or infirm,2 and it is imperative for the State to drive on the


2
    All R.S. 2477 preservation witnesses must be over the age of 60 at the time of the deposition, per the Case Management
                                                             4
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roads with the witnesses and conduct the depositions while the witnesses are still able to do so. Many

of the elderly witnesses may have small windows within which they are still physically capable of

driving on the roads with counsel for the State or participating in a deposition. Counsel for the State

is preparing to conduct depositions in Grand County in the coming months, and is now barred from

driving on the roads closed by this DR.

       10.     Many of the claimed R.S. 2477 roads closed by the BLM’s DR are exceptionally well-

used popular routes for motorized recreation and dispersed camping. These routes provide unique

opportunities for the public to visit scenic and remote backcountry locations. These routes are

particularly popular for mobility-limited people who struggle hiking or walking over rough terrain to

see similar scenery in adjacent areas where OHVs are prohibited.

       11.     These popular routes include the 9.41-mile Hell Roaring Road in Hell Roaring

Canyon, the 2.82-mile Spring Canyon Botton Road in Labyrinth Canyon along the banks of the Green

River, the 9.06-mile Hey Joe Canyon Road that follows Labyrinth Canyon into Hey Joe Canyon, and

the 4.95-mile Knoll Road that leads to a scenic lookout over the Colorado River.

       12.     Prior to the issuance of the BLM’s September 28, 2023 DR, all 317.2 miles of these

closed roads, including the 114 miles of claimed R.S. 2477 roads, were open to the public under the

BLM’s 2008 Moab Field Office Resource Management Plan (hereinafter “Moab RMP”). See Exhibit

#3, 2008 Moab Field Office Resource Management Plan Map #2 “Designated Routes.”

       13.     In October 2008, the BLM finalized the Moab RMP, which encompassed the entirety

of Grand County. Included with the 2008 Moab RMP were maps depicting routes specifically

designated as open to motorized use. All county roads crossing BLM land within Grand County,

including Class B roads under UTAH CODE §72-3-103 and Class D roads under UTAH CODE §72-3-




Order in Rich County et al v. U.S.A. et al., Case 2:12-cv-00424-CW, Docket No. 50. Most are significantly
older.
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105 were incorporated in the travel maps for the Moab RMP and designated as open to motorized

use. These same roads designated as open in the 2008 Moab RMP were later included as claimed

R.S. 2477 roads in Plaintiffs’ Grand County R.S. 2477 case.




Hey Joe Canyon Road #1527 (a claimed R.S. 2477 road) – closed at this point under the BLM’s
Labyrinth/Gemini Bridges Decision Record

       14.    Every year for the past twenty-five years, the Southern Utah Wilderness Alliance

(“SUWA”) and a few members of Congress sponsor a bill called the Red Rock Wilderness Bill, aimed

at creating millions of additional acres of congressionally designated wilderness throughout Utah. The

bill has never succeeded. The approximately 317.2 miles of routes and route segments that were

closed by BLM’s DR are within the area SUWA has unsuccessfully sought to have Congressionally

designated as Red Rock Wilderness. See Exhibit #4, Map of Proposed Wilderness Area, Red Rock

Wilderness Act.
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        15.     In December 2008, SUWA and other environmental plaintiffs filed a complaint against

the BLM in the U.S. District Court for the District of Columbia for alleged defects in the Moab RMP,

as well as alleged defects in other BLM resource management plans issued in BLM field offices

across Utah. The complaint specifically challenged the travel provisions and route designations in the

Moab RMP. Southern Utah Wilderness Alliance et al v. Allred et al, No. 1:08-cv-02187, 2009 WL

765882 (D.D.C. Jan. 17, 2009)(later consolidated with Case No. 2:12-cv-00257-DAK and transferred

to the District of Utah).

        16.     After SUWA filed its complaint, the State (along with numerous counties and

community organizations) successfully intervened in the lawsuit to support the BLM’s DR for the

Moab RMP and the other BLM resource management plans.

        17.     After many years of litigation, SUWA and other environmental plaintiffs signed a

settlement agreement in January 2017 (“SUWA Settlement Agreement”)(see Exhibit #5) with the

BLM. The SUWA Settlement Agreement required the BLM to generate new TMPs in certain TMAs,

including a new TMP for the Labyrinth/Gemini Bridges area in Grand County. The SUWA

Settlement Agreement also required the BLM to complete the Labyrinth/Gemini Bridges TMP within

six years.

        18.     The State of Utah, as a Defendant-Intervenor, was excluded from the settlement

negotiations between SUWA and the BLM and later objected to the SUWA Settlement Agreement.

        19.     Utah appealed the SUWA Settlement Agreement to the U.S. Court of Appeals for the

Tenth Circuit, but the State’s challenge was dismissed as unripe for adjudication. Case No. 2:12-cv-

00257-DAK, Document No. 010110080254.

        20.     Pursuant to the SUWA Settlement Agreement, in 2019 the BLM began developing the

Labyrinth/Gemini Bridges TMP. Utah, through its state agency known as the Public Lands Policy

Coordinating Office (“PLPCO”), signed a Memorandum of Understanding with the BLM in January

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2019. The purpose of this Memorandum of Understanding was to allow the State to participate in the

planning process for the Labyrinth/Gemini Bridges TMP as a cooperating agency.

       21.     As a cooperating agency, the State participated in a series of “route evaluation

meetings” hosted by the BLM from March 2019 to April 2020. The meetings were intended to

develop a range of alternatives for the Labyrinth/Gemini Bridges TMP. While participating in the

route evaluation meetings, the State, through PLPCO, continually expressed the State’s position that

claimed R.S. 2477 roads should remain open under all alternatives in the draft TMP, pending the

adjudication of the R.S. 2477 claims under the State’s ongoing Grand County R.S. 2477 case.

       22.     On April 26, 2021, the State submitted scoping comments to the BLM on the

Labyrinth/Gemini Bridges TMP. The State also submitted a comment letter as part of the BLM’s

cooperating agency review on December 10, 2021. In this letter, the State explained the need for all

claimed R.S. 2477 roads to remain open under the travel management plan until such time as the

State’s claims could be fully and finally adjudicated. On October 6, 2022, the State submitted yet

another comment letter during the BLM’s public comment period reiterating the need for the BLM to

keep all claimed R.S. 2477 roads open until adjudicated.

       23.     The BLM released its final DR for the Labyrinth/Gemini Bridges TMP on September

28, 2023.

       24.     On October 25, 2023, Utah Governor Spencer Cox submitted his Governor’s

Consistency Review letter to the BLM. The Governor’s letter detailed the inconsistencies between

the Labyrinth/Gemini Bridges TMP and Utah’s Statewide Resource Management Plan. The

Governor’s letter also explained the need to keep all claimed R.S. 2477 roads open until final

adjudication. Despite Governor Cox’s letter and Utah’s position as a cooperating agency, the BLM

declined to make any changes to the Labyrinth/Gemini Bridges TMP.

       25.     Seeking to stay the BLM’s implementation of the Labyrinth/Gemini Bridges TMP, the

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State filed a Notice of Appeal and Petition for Stay with DOI’s Interior Board of Land Appeals

(“IBLA”) on October 27, 2023. The IBLA denied the State’s Petition for Stay in an order dated

November 28, 2023.

       26.      As a result of the denial, the State of Utah then moved to voluntarily dismiss its appeal

from the IBLA on December 7, 2023.

                                   JURISDICTION AND VENUE

       27.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 (federal

question); 28 U.S.C. § 2201 (declaratory judgment); 28 U.S.C. § 1361 (mandamus); the Federal Land

Policy Management Act (“FLPMA”), 43 U.S.C. §§ 1701-1784; the National Environmental Policy

Act (“NEPA”), 42 U.S.C. §§ 4321-35; and the federal Administrative Procedure Act (“APA”), 5

U.S.C. § 706.

       28.       Judicial review of Defendants’ actions is also available under the doctrine of non-

statutory judicial review of agency action because Defendants have acted without statutory authority

and the challenged actions are unlawful and ultra vires.

       29.       The APA also authorizes judicial review of Defendants’ actions because Defendants

have acted contrary to law and without lawful authority, 5 U.S.C. § 706(2)(C), and arbitrarily,

capriciously, and not in accordance with law. 5 U.S.C. § 706(2)(A).

       30.       Venue is proper in this Court pursuant to 28 U.S.C. § 1391(e) because the

Labyrinth/Gemini Bridges TMA is situated entirely within the State of Utah.

                                               PARTIES

       31.       The State of Utah is one of fifty sovereign states forming the United States of America,

having been admitted to the Union on January 4, 1896, on an equal footing with the original states. The

executive power of the State is vested in the Governor, who is responsible for seeing that the laws of the

State are faithfully executed. Utah Const. art. VII, § 5; UTAH CODE ANN. § 67-1- 1.

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       32.      SITLA, as an agency of the State of Utah, administers and manages lands owned by

the State for the benefit of Utah’s public school systems. Over 70 sections of land managed by

SITLA are located within the Labyrinth/Gemini Bridges TMA.

       33.      Defendant Deb Haaland is the Secretary of the DOI. In her official capacity, the

Secretary is responsible for upholding the Constitution of the United States and for setting public land

policy in accordance with the provisions and requirements of federal law, including FLPMA.

       34.      Defendant DOI is the department of the federal government to which Congress

delegated the authority to administer the public lands in accordance with the Constitution of the

United States and federal law.

       35.      Defendant Tracy Stone-Manning is the Director of the BLM. In her official capacity,

Director Stone-Manning is responsible for managing the public lands in accordance with the U.S.

Constitution and federal law.

       36.     Defendant Bureau of Land Management is the federal agency within DOI responsible

for the management of public lands and minerals in Utah. The BLM manages approximately 22.9

million acres of federal surface and 23 million acres of mineral estate in Utah, including the

Labyrinth/Gemini Bridges Transportation Management Area.



                          PLAINTIFFS’ INTERESTS AND STANDING

A.     Plaintiffs are Participating Cooperating Agencies

       37.       The State of Utah, through the aforementioned state agency referred to as PLPCO,

entered into a Cooperating Agency relationship with the BLM Moab Field Office through a

Memorandum of Understanding dated February 16, 2019. See Exhibit #6. SITLA separately signed a

Memorandum of Understanding with the BLM and participated as a separate Cooperating Agency.

From that point on, the State of Utah, through both PLPCO and SITLA, regularly participated in the

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BLM’s in-person and virtual cooperating agency meetings, including a series of route evaluation

meetings to discuss potential alternatives for each route under consideration in the Travel

Management Plan. While the State was allowed to participate as a Cooperating Agency, all final

decisions as to alternatives were made solely by the BLM.

       38.      As the BLM initiated the public scoping process in the spring of 2021, the State

submitted scoping comments in a letter dated April 26, 2021. See Exhibit #7. The State submitted

confidential comments to the BLM as a Cooperating Agency in a letter dated December 10, 2021.

See Exhibit #8. When the BLM released the preliminary Environmental Assessment for the Travel

Management Plan, the State submitted comments on October 6, 2022. See Exhibit #9. Finally, after

the BLM published its final DR, the Governor of Utah submitted the Governor’s Consistency Review

on October 25, 2023. See Exhibit #10.

B.     Access to State-Owned Lands Managed by SITLA

       39.      Pursuant to the Utah Constitution, the State of Utah owns all property interests

acquired from the United States at or after the time of statehood. UTAH CONST. Art. XX.

       40.      The State of Utah holds fee title to approximately 70 sections of land within the

Labyrinth/Gemini Bridges TMA that are administered and managed by SITLA, in trust, for the

benefit of the public-school systems in the state (“Trust Lands”). Many of the roads within the TMA

provide transportation and access to these Trust Lands and contribute to the financial viability of the

public-school systems in the state.

       41.      The BLM’s DR closes and restricts access to two sections of Trust Lands owned by

the State and managed by SITLA, which will result in an adverse economic impact on these lands.

Those SITLA sections are located at Township 26 South, Range 18 East, Section 36 and Township 25

South, Range 18 East, Section 32. Access to these parcels is closed by the DR’s closure of Hell

Roaring Road, #1223 and Mineral Canyon Road, #1026. See Exhibit #11, Map of SITLA Parcels

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With Access Blocked by DR.

          42.       Although the DR does allow access to the extreme northwest corner of the SILTA

parcel located at Section 32 of Township 25 South, Range 18 East, the extreme topography of the

landscape renders access to the majority of the parcel impossible without access along Hell Roaring

Road, #1223. Id.

          43.   The marketability and value of the affected Trust Lands will be significantly reduced.

The closure of access roads severely limits the potential uses of these Trust Lands and their

accessibility, thereby reducing their attractiveness to potential buyers or lessees. Continued access to

these Trust Lands is paramount for fulfilling the intent of the original land grant from the United

States.

          44.   Specifically, the DR’s closure of two roads providing exclusive access to two

different SITLA parcels has resulted in loss of access or restriction of access to approximately 1,196

acres of Trust Lands owned by the State of Utah and managed by SITLA, which in turn will result in

reduced marketability and diminished per-acre value by as much as fifty percent.

          45.   In addition to the valuation loss, SITLA has very limited budgets for road

maintenance. It is that way by design, to maximize disbursements of revenue. Therefore, it is

imperative for the State, SITLA, and their Trust Lands beneficiaries that roads leading to SITLA Trust

Lands be public; this allows SITLA to partner with the Grand County Road Department and others to

improve or maintain the roads when needed.

          46.   The United States may regulate the method and route of access to state school trust

lands; however, that regulation cannot prevent the State or its lessee from gaining access to its land,

nor may it be so prohibitively restrictive as to render the land incapable of full economic

development. State of Utah v. Andrus, 486 F. Supp. 995 (D. Utah 1979) (commonly referred to as the

Cotter Decision).

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        47.     BLM’s DR violates the Cotter decision by cutting off access to two sections of State-

owned SITLA Trust Land. All Trust Land parcels had motorized access prior to the DR, and many of

them had multiple routes of motorized access. The DR effectively eliminates access, which will

deprive the State and SITLA of the full economic value of the land, in violation of the law.

        48.      The lack of available roads, even if they are only “paper routes” (routes that are only

visible on maps but are reclaimed on the ground), will substantially impair actual access to the Trust

Lands and increase the amount of time and financial capital necessary for prospective lessees to

access those lands. This will render those parcels “incapable of full economic development.” Id.

C.      Transportation System Management and R.S. 2477

        49.     The State of Utah has regulatory authority over all motorized vehicle travel within its

borders, including travel by ATVs, which constitutes a significant amount of the travel in the

Labyrinth/Gemini Bridges TMA. See Utah Off-Highway Vehicle Act, Utah Code Ann. § 41-22-1 et.

seq.

        50.     The State and Grand County are joint owners of R.S. 2477 rights-of-way within Grand

County, Utah. UTAH CODE ANN. §§ 72-5-302(2) (Supp. 2011) and -103(2)(b) (2004); id. at §§ 72-

3-103(3) (2004) and -105(3).

        51.     Approximately 114 of the 317.2 miles of roads and road segments closed by the

BLM’s DR are subject to R.S. 2477 rights-of-way jointly owned by the State of Utah and Grand

County. The 114 miles now closed by the BLM are included in a quiet title action based upon R.S.

2477 currently pending before Judge Waddoups of this Court. See Grand County v. United States of

America, Case No. 2:12-cv-00466-CW (D. Utah 2012), Dkt 2, paragraphs 212 through 11833.

D.      Motorized Recreation and Access

        52.     It is in the interest of the State to promote outdoor recreation on federal land,

including motorized recreation. See 2014 Utah State Comprehensive Outdoor Recreation Plan

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(“SCORP”). The SCORP identifies a need for more OHV facilities in Grand County. SCORP, at 36.

        53.      The BLM is required under FLPMA to coordinate land use planning with statewide

outdoor recreation plans such as the SCORP. 43 U.S.C. §1712 (9).

        54.      In Utah and Grand County, in particular, outdoor recreation activities such as those

engaged in by people who travel and recreate in the Labyrinth/Gemini Bridges contribute more than

$12 billion to the State’s economy and employ more than 122,000 people. State of Utah Resource

Management Plan at 180 (“State RMP”) (https://rmp.utah.gov/state-of-utah-resource-management-

plan/). In Grand County, travel and tourism constitute 48.9 percent of all jobs. Headwaters

Economics 2024 Economic Profile System: Grand County, Utah - Travel and Tourism (Available

online: https://headwaterseconomics.org/apps/economic-profile-system/49019 (last visited

05/22/2024)).

        55.      The closure of roads by the DR in the Labyrinth/Gemini Bridges TMA will directly

impact all activities in a large area of Grand County and adversely affect economic and tax revenue

for the State.

        56.      Local businesses that rent ATVs or offer guided tours to visitors provide employment

to local residents and tax revenue to the State. The State has an interest in the economic well-being of

their citizens. Motorized vehicle travel on the roads in the Labyrinth/Gemini Bridges TMA provides

access not only to federal public lands, but to private lands and State Trust Lands. This access is

important to the economy of the State.

E.      Wildlife Management and Control

        57.      The United States Supreme Court has long recognized that states as sovereign entities

have the power and right to control and manage wildlife within their borders. Greer v. Connecticut,

161 U.S. 519 (1896). This state ownership doctrine is still a legitimate basis for the exercise of state

authority.

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       58.      Pursuant to UTAH CODE §23A-1-102, all wildlife within the State of Utah, not held by

private ownership, is the property of the State. The State has primary responsibility for the

management of wildlife within its borders and receives economic benefits from the issuance of

hunting and fishing licenses and permits to outdoor sportsmen. See generally UDWR, Fiscal Year

2020 Financial Information, Utah Division of Wildlife Resources, available at:

https://wildlife.utah.gov/dwr-financial-overview.html (2020), (last accessed September 29, 2021).

       59.      The decreased access to the Labyrinth/Gemini Bridges TMA caused by BLM’s DR

and closure of roads challenged by this action diminishes and negatively affects the State’s interest in

and ability to manage wildlife.

                       STATUTORY AND REGULATORY FRAMEWORK

A.     R.S. 2477

       60.     R.S. 2477 provides as follows: “And be it further enacted, That the right of way for the

construction of highways over public lands, not reserved for public uses, is hereby granted.” Act of

July 26, 1866, ch. 262, § 8, 14 Stat. 251, 253, codified at 43 U.S.C. § 932, repealed by Federal Land

Policy Management Act of 1976 (FLPMA), Pub. L. No. 94-579 § 706(a), 90 Stat. 2743.

       61.     R.S. 2477 was an open congressional grant in praesenti of public highway rights-of-

way for the benefit of miners, ranchers, homesteaders, and all other members of the public who had a

need to travel across public lands.

       62.     Acceptance and vesting of R.S. 2477 rights-of-way required no administrative

formalities: no entry, no application, no license, no patent, and no deed on the federal side; no formal

act of public acceptance on the part of the states or localities in whom the right was vested. See

Southern Utah Wilderness Alliance v. Bureau of Land Mgmt., 425 F.3d 735, 741 (10th Cir. 2005)

(hereinafter “SUWA v. BLM”). R.S. 2477 operated as a standing offer of a right-of-way over the

public domain, and the grant may be accepted without formal action by public authorities. Id.

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       63.     The congressional grant of public highway rights-of-way embodied by R.S. 2477

operated on unreserved public lands for 110 years until it was repealed on October 21, 1976, by

FLPMA, 43 U.S.C. § 1701 et. seq.

       64.     In repealing R.S. 2477, Congress preserved vested R.S. 2477 rights-of-way as valid

existing rights and expressly directed the United States and its subordinate agencies (including the DOI

and the BLM) to manage federal lands subject to these valid existing rights.

       65.     Section 701(h) of FLPMA provides as follows: “All actions by the Secretary

concerned under this Act shall be subject to valid existing rights.” Id. § 1701, note; see also § 1769(a)

(“Nothing in this subchapter shall have the effect of terminating any right-of-way or right of use

heretofore issued, granted or permitted.”).

B.     The Wilderness Act

       66.     The Wilderness Act of 1964 was enacted “to secure for the American people of present

and future generations the benefits of an enduring resource of wilderness.” Management of these

wilderness areas was to be done in “such manner as will leave them unimpaired for future use and

enjoyment as wilderness.” 16 U.S.C. § 1131(a).

       67.      The Wilderness Act process for adding lands to the National Wilderness Preservation

System (“NWPS”) begins with recommendations to the President from the secretaries of either the

Department of Agriculture or DOI. The President then makes a recommendation to Congress, which

reserved to itself the power to designate wilderness. Specifically, the Wilderness Act states that “no

Federal lands shall be designated as ‘wilderness areas’ except as provided for in this chapter or by a

subsequent Act.” Id.

       68.      The Act defines wilderness as “an area where the earth and its community of life are

untrammeled by man, where man himself is a visitor who does not remain” and “an area of undeveloped

Federal land retaining its primeval character and influence, without permanent improvement or human

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habitation.” A qualifying area is defined as an area that:

       (1) generally appears to have been affected primarily by the forces of nature, with the imprint of
man’s work substantially unnoticeable; (2) has outstanding opportunities for solitude or a primitive and
unconfined type of recreation; (3) has at least five thousand acres of land or is of sufficient size as to
make practicable its preservation and use in an unimpaired condition; and (4) may also contain
ecological, geological, or other features of scientific, education, scenic, or historical value.
       Id. § 1131(c).

C.     The Federal Land Policy Management Act

       69.      Congress enacted FLPMA, 43 U.S.C. § 1701–1787, to establish uniform and coherent

administration of public lands. This Congressional mechanism includes (1) the creation of resource

inventories and land use plans; (2) implementation of “multiple use” management plans; (3)

management of lands recommended for inclusion in the NWPS as Wilderness Study Areas (“WSAs”);

and (4) designation and management of Areas of Critical Environmental Concern (“ACECs”) according

to land use plans.

1.     Inventory and Land Use Plans

       70.      Section 201 of FLPMA requires the Secretary of the Interior to “prepare and maintain

on a continuing basis an inventory of all public lands and their resources and other values (including, but

not limited to, outdoor recreation and scenic values), giving priority to areas of critical environmental

concern.” 43 U.S.C. § 1711(a). This inventory is to be kept current in order to reflect any changed

conditions and to “identify new and emerging resource and other values.” Id.

       71.      In addition to the requirement to prepare an inventory, FLPMA requires that “[t]he

preparation and maintenance of [the] inventory or the identification of such areas shall not, of itself,

change or prevent change of management or use of public lands.” Id. (emphasis added).

       72.      Section 202 of FLPMA requires the Secretary of the Interior, with public

participation, to “develop, maintain, and when appropriate, revise land use plans which provide by

tracts or areas for the use of the public lands.” Id. § 1712(a). In developing these land use plans,

currently known as Resource Management Plans (or RMPs), the BLM must rely “on the inventory of
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the public lands, their resources, and other values.” Id. § 1712(c)(4).

       73.       FLPMA also requires the Secretary of the Interior to “coordinate the land use

inventory, planning, and management activities of or for such lands with the land use planning and

management programs of . . . the State and local governments within which the lands are located…”

Id. § 1712(c)(9).

       74.       Moreover, the Secretary of the Interior:

        shall provide for meaningful public involvement of State and local government officials, both
elected and appointed, in the development of land use programs, land use regulations, and land use
decisions for public lands, including early public notice of proposed decisions which may have a
significant impact on non- Federal lands. Such officials in each State are authorized to furnish advice
to the Secretary [of the Interior] with respect to the development and revision of land use plans [and]
land use guidelines. . . for the public lands within such State and with respect to such other land use
matters as may be referred to [the Secretary of the Interior] by them. Id.

2.     Consistency with State and Local Land Use Plans

       75.       Under FLPMA, “[l]and use plans of the Secretary … shall be consistent with State and

local plans to the maximum extent [the Secretary] find consistent with Federal law and the purposes of

FLPMA.” 43 U.S.C. § 1711(c)(9).

3.     Multiple Use and Sustained Yield

       76.       As set forth in FLPMA, the guiding principle in the management of public lands

generally, and the RMPs specifically, is multiple use and sustained yield. 43 U.S.C. § 1732(a).

       77.       “Multiple use” is defined as “management of public lands and their various resources

so that they are utilized in the combination that will best meet the present and future needs of the

American people.” Id. § 1702(c).

       78.     These resources include, but are not limited to, “recreation, range, timber, minerals,

watershed, wildlife and fish, and natural scenic, scientific and historical values.” Id.

       79.       “Sustained yield” is defined as “the achievement and maintenance in perpetuity of a

high-level annual or regular periodic output of various renewable resources of the public lands

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consistent with multiple use.” Id. § 1702(h).

       80.       As set forth in FLPMA, the “principal or major uses” of public lands include and are

limited to “domestic livestock grazing, fish and wildlife development and utilization, mineral

exploration and production, rights-of-way, outdoor recreation, and timber production.” Id. § 1702(l).

4.     Wilderness Study Areas

       81.       Wilderness Study Areas, or WSAs, are those lands inventoried and identified by

BLM as suitable for preservation as wilderness, subject to prior existing rights and uses. 43 U.S.C.§

1782(c).

       82.       Because the Wilderness Act does not directly address BLM’s authority to designate or

manage public lands as wilderness, FLPMA section 603 provides for a two-step inventory and

management process.

       83.       First, within fifteen years of October 21, 1976, passage of FLPMA, the Secretary of

the Interior was to use the Section 201 Inventory to review “roadless areas of five thousand acres or

more and roadless islands of the public lands.” During that fifteen-year period, the Secretary of the

Interior was required “from time to time [to] report to the President his recommendation as to the

suitability or nonsuitability of each area or island for preservation as wilderness.” Id. § 1782(a).

       84.       On October 21, 1991, BLM’s authority to review, recommend, create, or manage

lands as WSAs terminated. Id.

       85.       Second, the President was to advise Congress within two years of each report by the

Secretary of the Interior of “his recommendations with respect to designation as wilderness of each such

area”, with the President’s recommendations for wilderness designations becoming effective only if so

provided by an act of Congress. Id. § 1782(b).

       86.       As stated above, only Congress has the discretion to either designate WSA lands as

part of the NWPS or to release them for other uses.

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       87.      Prior to congressional determination, management of recommended WSAs must be

done in “a manner so as not to impair the suitability of such areas for preservation as wilderness,”

subject to prior existing rights and uses (the non-impairment standard). Id. § 1782(c).

       88.      Pursuant to FLPMA section 302(b), BLM is to manage all other lands to the lesser

“undue degradation” standard.

       89.      On December 12, 1979, BLM issued an Interim Management Policy for Lands Under

Wilderness Review (“IMP”) to provide management guidance to BLM staff for section 603 WSAs

pending congressional action.

5.     Areas of Critical Environmental Concern

       90.      FLPMA defines Areas of Critical Environmental Concern (“ACECs”) as “areas

within the public lands where special management attention is required (when such areas are

developed or used or where no development is required) to protect and prevent irreparable damage to

important historic, cultural, or scenic values, fish and wildlife resources or other natural systems or

processes, or to protect life and safety from natural hazards.” 43 U.S.C. § 1702(a).

       91.      Under FLPMA Section 201, the Secretary of the Interior must give priority to ACECs

in the inventory of public lands. Id. § 1711(a).

       92.     Under FLPMA Section 202, the designation and protection of ACECs are given

priority in the development and revision of land use plans. Id. § 1712(c)(3).

       93.     Prior to designating an ACEC, the BLM State Director must provide a 60-day period

for public comment on the proposed designation. 43 CFR § 1610.7-2(b).

6.     Rules and Regulations

       94.     To carry out the purposes of FLPMA, the Secretary of the Interior is required to

promulgate rules and regulations. “The promulgation of such rules and regulations shall be governed

by the provisions of chapter 5, title 5,” the Administrative Procedures Act, 5 U.S.C. §§ 500-596. 43

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U.S.C. § 1740.

       95.       In 1971, DOI promulgated a rule to follow rulemaking procedures, even if the subject

matter would fall within APA exceptions. Specifically, DOI stated that “[n]otice is hereby given of

the policy of the Department of the Interior to give notice of proposed rulemaking and to invite the

public to participate in rulemaking in instances where not required by law.” 36 Fed. Reg. 8336 (May

4, 1971).

D.     The National Environmental Policy Act

       96.       Congress enacted NEPA to “encourage the enjoyable harmony between man and his

environment; to promote efforts which will prevent or eliminate damage to the environment and

biosphere and stimulate health and welfare of man; to enrich the understanding of the ecological and

natural resources important to the Nation…” 42 U.S.C. § 4321.

       97.       To achieve these goals, NEPA requires federal agencies to prepare an environmental

impact statement (“EIS”) for all “major Federal actions significantly affecting the quality of the

human environment.” 42 U.S.C. § 4332(2)(C); see also 40 C.F.R. § 1501.4 and BLM NEPA

Handbook, H-1790-1, 3.2.1 (Jan. 30, 2008) (discussing NEPA process).

       98.       NEPA defines “major Federal actions” triggering NEPA analyses as “new or revised”

agency “plans, policies, or procedures” including, as in the case of Order 3310, “formal documents

establishing an agency’s policies which will result in or substantially alter agency programs” and

“which guide or prescribe alternative uses of Federal resources, upon which future agency actions will

be based.” 40 C.F.R. 1508.18(b)(1).

       99.        The “human environment” is defined to “include the natural and physical

environment and the relationship of people with that environment.” 40 C.F.R. § 1508.14.

Furthermore, when economic and social effects are interrelated with natural and environmental

effects, “then the environmental impact statement will discuss all of these effects on the human

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environment.” Id.

       100.     The EIS must “provide full and fair discussion of significant environmental impacts

and shall inform decisionmakers and the public of the reasonable alternatives which would avoid or

minimize adverse impacts or enhance the quality of the human environment.” 40 C.F.R. § 1502.1.

This open process of evaluation allows all stakeholders to know the implications of federal actions

and to have the ability to participate and have their voices heard in the decision-making process.

E.     Administrative Procedures Act.

       101.     Congress enacted the APA to standardize the way federal administrative agencies

propose and establish rules and regulations. The APA also establishes a process for judicial review of

agency decisions.

       102.     The APA authorizes the setting aside of agency action found to be arbitrary,

capricious, an abuse of discretion, or otherwise not in accordance with law; in excess of statutory

jurisdiction, authority, or limitations; without observance of procedures required by law, and

unwarranted or unsupported by the facts. 5 U.S.C. 706(2). There must be a “rational connection

between the facts found and the choice made.” See Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State

Farm Mut. Auto. Ins. Co., 463 U.S. 29, 56, 103 S. Ct. 2856, 2873, 77 L. Ed. 2d 443 (1983).

1.     Rulemaking

       103.     Rulemaking procedures are clearly laid out in the APA and require both notice and

the opportunity to comment. 5 U.S.C. § 553.

       104.     Notice of proposed rulemaking is to be published in the Federal Register and must

include “(1) a statement of the time, place, and nature of the public rule making proceedings; (2)

reference to the legal authority under which the rule is proposed; and (3) either the terms or substance

of the proposed rule or a description of the subjects and issues involved.” Id. § 553(b).

       105.     After providing notice, an agency must “give interested persons an opportunity to

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participate in the rulemaking through submission of written data, views, or arguments with or without

opportunity for oral presentation.” Id. § 553(b)(3)(A).

         106.     Except as otherwise required by statute, the APA provides an exception to the notice

and comment requirements for “interpretive rules, general statements of policy, or rules of agency

organization, procedure, or practice.”

         107.     Courts will overturn a rule purporting to exist under this exception if it was

promulgated pursuant to a direct delegation of legislative power by Congress or “if it changes existing

law, policy or practice.” Rocky Mountain Helicopters, Inc. v. F.A.A., 971 F.2d 544, 546 (10th Cir.

1992).

2.       Judicial Review

         108.     The APA also establishes a procedure for judicial review for those who are suffering a

legal wrong as the result of a final agency action and have no other adequate remedy. Id. § 704.

         109.     The reviewing court may decide “all relevant questions of law, interpret

constitutional and statutory provisions, and determine the meaning or applicability of the terms of an

agency action.” Id. § 706.

         110.     The court shall, among other things “hold unlawful and set aside agency action,

findings, and conclusions found to be . . . arbitrary, capricious, an abuse of discretion, or otherwise

not in accordance with law; . . . in excess of statutory jurisdiction, authority, or limitations, or short of

statutory right . . . [or] without observance of procedure required by law.” Id. § 706(2)(A) and (C)-

(D).

F.       National Historic Preservation Act

         111.     Congress enacted the National Historic Preservation Act (“NHPA”) to preserve

historic and archaeological sites in the United States. 54 U.S.C. § 100101. Section 106 of the NHPA

requires federal agencies with jurisdiction over a proposed federal undertaking to consider the effect

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of that undertaking on any historic property. 54 U.S.C. § 306108.

       112.      Regulations at 36 C.F.R. § 800 Part B provide specific procedures for complying

with the NHPA.

       113.      Further regulations at 36 C.F.R. §60.4 stipulate that a cultural resource—object, site,

structure, building, or district—must possess integrity of location, design, setting, materials,

workmanship, feeling, and association.

       114.      36 C.F.R. §60.4 also provides criteria for evaluation under the National Register for

Historic Places. These regulations describe National Register-eligible historic properties as: (a) “…

associated with events that have made a significant contribution to the broad patterns of our history;

or (b) … associated with the lives of persons significant in our past; or (c) … embody the distinctive

characteristics of a type, period, or method of construction, or that represent the work of a master, or

that possess high artistic values, or that represent a significant and distinguishable entity whose

components may lack individual distinction; or (d) … have yielded, or may be likely to yield,

information important in prehistory or history”. 36 C.F.R. §60.4(a)-(d).

       115.      These regulations require the BLM to seek information from “consulting parties”,

such as state governments, likely to have knowledge of, or concerns with, historic properties in the

area, and identify issues relating to the undertaking's potential effects on historic properties. 36

C.F.R. § 800.4(a)(3).

                                     GENERAL ALLEGATIONS

A.     Interference With Utah’s Ongoing R.S. 2477 Litigation in Grand County

       116.      To date, Plaintiff has conducted preservation depositions with thirty witnesses in

Grand County, thirteen of whom have specifically testified as to their use of R.S. 2477 roads closed




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under this TMP.3 These witnesses testified that prior to October 1976 they all used at least one of the

claimed R.S. 2477 roads closed by Federal Defendant’s DR. Broadly speaking, their testimonies

describe a variety of public uses occurring on these roads in the 1960s and 1970s, including driving

these roads for purposes of hunting, cattle ranching, picnicking, recreational exploring, mineral

prospecting, and other activities.

         117.       Witness testimony detailed the pre-October 1976 conditions of the roads, including

the roads’ width and the frequency of travel by members of the public along the roads. Many

witnesses described in detail the types of vehicles they drove on these roads prior to October 1976.

The combined testimony of the thirteen preservation witnesses illustrates frequent public use of the

claimed R.S. 2477 roads in the Labyrinth/Gemini Bridges area prior to October 1976.

         118.       The State continues to find fact witnesses in Grand County and conduct preservation

depositions. The State expects to conduct more preservation depositions with fact witnesses who

have personal pre-October 1976 experience using the 114 miles of claimed R.S. 2477 roads closed in

Defendant’s DR. Like the thirteen depositions already conducted, the State expects to receive strong

additional evidence of the pre-October 1976 continuous public use of these roads in future

depositions.

         119.       In Kane County v. United States, No. 2:08-cv-00315, 2013 WL 1180764 (D. Utah,

March 20, 2013)(affirmed in part and reverse in part)(commonly known as Kane 1), this Court

examined the testimony provided by numerous witnesses who had traveled on R.S. 2477 roads

claimed by the State and Kane County.4 Pulling information from the deposition testimony, the Court

listed a multitude of public uses that convincingly demonstrated that the roads had been accepted by


         3
        The State has included a detailed summary of public uses for each claimed R.S. 2477 road in
the Travel Management Area in Exhibit #12.
4
 Although Kane 1 was remanded by the Tenth Circuit on the question of scope, in Kane County v. United States 772 F.3d
1205 (10th Cir. 2014), the Tenth Circuit did not reverse this Court’s finding on the matter of title or the elements of public
use that contributed to plaintiffs establishing a right-of-way to certain roads under R.S. 2477.
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public recognition and used for the required period, thus constituting valid R.S. 2477 roads. Id, at 46,

53, 66.

          120.   The public uses listed by this Court in Kane 1 as evidence of public recognition and

use included: camping, picnicking, exploring, sightseeing, gathering firewood, hunting, fishing,

accessing adjacent private land, logging, looking for historic artifacts, visiting historic points of

interest, accessing hiking locations, moving cattle, traveling to family reunions, guiding hunting

groups, mineral exploration, and other uses. Id at 24, 27-28, 31, 33, 46, 50, 53. This Court also

weighed whether a road had a historical reputation as existing, whether the road accessed private

property, whether the public was ever precluded from using the road, whether the road connected to

other roads, whether the road was maintained upon request, and whether the road was considered a

public road (rather than a private lane). Id, at 44, 49, 50, 51, 54.

          121.   This Court specifically considered whether the public was able to travel the full

length of the road as often as it found it convenient or necessary, and determined that infrequent use

did not disqualify the State and County’s claims if the frequency of use was compatible with the

road’s purpose. Id, at 49.

          122.   This Court did not find any one of these public uses to be dispositive, but listed them

as factors, that in combination with other public uses continuing for a period of a least ten years prior

to October 1976, constituted acceptance by public recognition and use. Id, at 50. As a result, the

Court quieted title to Kane County and the State of Utah for many of the roads at issue in Kane 1. Id,

at 66.

          123.   In the State’s pending Grand County R.S. 2477 case addressing the 114 miles of

closed R.S. 2477 roads, the thirteen individual fact witnesses who have participated in preservation

depositions have provided substantial evidence of public use of roads closed by the BLM’s DR. The

types of public uses testified to include many of the same public uses that this Court used to quiet title

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in favor of the State and Kane County in Kane 1.

        124.     Speaking generally, the thirteen witnesses have testified to using the claimed R.S.

2477 roads within the TMA for public uses such as camping, exploring, sightseeing, gathering

firewood, hunting, accessing adjacent private land, looking for historic artifacts, visiting historic

points of interest, accessing hiking locations, moving cattle, mineral exploration, and other uses. See

Exhibit #12, Summary of Deposition Testimony for Claimed R.S. 2477 Roads Closed by

Labyrinth/Gemini Bridges Travel Management Plan Decision Record. The fact witnesses generally

testified to continuous public use prior to the October 1976 repeal of R.S. 2477, and also testified that

the disputed roads served as public thoroughfares used by the community (as opposed to private

lanes). Id.

        125.     The BLM’s interference in the State’s discovery process violates the long-established

common-law principle of “spoilation of evidence,” which the 10th Circuit Court of Appeals has

defined as “encompass[ing] a third party’s intentional or negligent destruction or loss of tangible

evidence, which destruction or loss impairs a person’s ability to prove or defend a prospective civil

action.” Talmadge v. State Farm Mut. Auto. Ins. Co., 107 F.3d 21 (10th Cir. 1997). Similarly, the

Stanford Journal of Complex Litigation has found “[t]he unanimous view of the federal courts is that

federal law imposes upon a party a duty to preserve relevant evidence[.] ... Furthermore, it is well

accepted that the federal courts have authority to protect the integrity of their proceedings by

sanctioning parties who spoliate evidence after an action has commenced.” Joshua M Koppel,

Federal Common Law and the Courts’ Regulation of Pre-Litigation Preservation, 1 STANFORD

JOURNAL OF COMPLEX LITIGATION 102 (2012). Here, the BLM’s prohibition on motorized

vehicle use on roads subject to the State’s pending Quiet Title action is an intentional masking of

tangible evidence, which now impairs the State’s ability to prove its claims in an ongoing civil action.

Simply put, counsel for the State needs to drive on these roads with their fact witnesses as its method

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of collecting evidence, and the BLM’s closure of these roads bars the collection of this evidence.

       126.     Defendants’ closure of these roads to motorized traffic will also increase the rate at

which these roads are naturally reclaimed through vegetation growth. The R.S. 2477 roads closed by

the BLM’s DR are largely maintained through “maintenance by use,” the process by which regular

vehicular traffic minimizes vegetation growth in the roadway and keeps the road passable to future

motorists. Closure of these roads to motorized traffic will initiate this natural reclaiming process,

further impairing the State’s ability to collect evidence and prove its claims in the ongoing action.

       127.     Unable to conduct discovery on the roads closed by the DR, Plaintiffs have been

significantly harmed by Defendant’s DR.

       128.     It is the ordinary practice of Plaintiff to drive the length of claimed R.S. 2477 roads

with preservation witnesses prior to conducting depositions. Driving the length of the claimed R.S.

2477 roads is essential for allowing the witnesses to provide high-quality testimony during the

depositions by refreshing recollections from decades ago. This aspect of Plaintiff’s discovery process

is now prohibited by the Defendant’s DR, resulting in irreparable harm to the State. Additionally,

many (if not all) of the State’s preservation witnesses are elderly. These witnesses need to be able to

travel these roads immediately while they are still physically able to do so. Federal Defendant’s DR

blocks the State’s preparation process and makes deposition testimony on these roads much more

difficult, while reducing the depositions’ evidentiary value. Furthermore, Plaintiff’s counsel and

witnesses could now face arrest and prosecution for even driving these claimed R.S. 2477 roads that

the Federal Defendants have unilaterally closed.

       129.     After the State filed its Grand County R.S. 2477 lawsuit in 2012, as well as similar

lawsuits against the BLM in twenty-one other counties, this Court issued a Consolidated Case

Management Order (“CMO”) to consolidate the discovery process for the twenty-two R.S. 2477

lawsuits. See Consolidated Case Management Order, Rich County et al v. U.S.A. et al., Case 2:12-cv-

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00424-CW, Docket No. 50. While these cases, including the Grand County R.S. 2477 case, are

currently stayed pending the resolution of a Bellwether case in Kane County, this Court has provided

for the State to conduct preservation depositions to preserve the testimony of fact witnesses “whose

testimony is at a substantial risk of loss due to advanced age, infirmity, or permanent relocation

outside the state.” Id. Once a potential witness passes away, their memories of using these roads

prior to October 1976 are lost with them. The harm caused by the Defendant’s DR is thus an

irreparable harm rather than a transitory one.

        130.    As witnesses must be at least sixty years old per the CMO, and as many are much

older, there is a tremendous risk of witnesses passing away within the next decade. Indeed, many

potential witnesses for this case (and other R.S. 2477 cases around Utah) have passed away prior to

Plaintiff’s attorneys having the opportunity to conduct preservation depositions with them. This

problem will only grow more acute with the passage of time as we move further away from October

1976.

        131.    The inability to travel on the roads will harm the quality of the State’s depositions.

Low quality depositions harm the State’s case and lower the quality of evidence the Court will

consider in making its decisions.

B. Closure of Access to SITLA Lands

        132.    The DR closes access to two sections of Trust Lands owned by the State of Utah and

managed by SITLA. Continued access to these sections of Trust Lands is paramount for fulfilling the

intent of the original land grant from the United States.

        133.    The United States may regulate the method and route of access to state school trust

lands; however, that regulation cannot prevent the State or its lessee from gaining access to its land,

nor may it be so prohibitively restrictive as to render the land incapable of full economic

development. Cotter Decision).

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        134.     The DR violates the Cotter decision by cutting off access to two sections of SITLA

Trust Land. All of the parcels had motorized access prior to the DR, and many of them had multiple

routes of motorized access. The DR effectively eliminates access, which will deprive the State of the

full economic value of its land, in violation of the law.

        135.     The lack of available roads, even if they are only “paper routes” (i.e., routes that are

only visible on maps but are reclaimed on the ground), will substantially impair actual access and

increase the amount of time and financial capital necessary for prospective lessees to access those

lands. This will undoubtably render those parcels “incapable of full economic development.”

        136.     FLPMA requires the BLM to manage public lands according to multiple use and

sustained yield principles in order to “meet the present and future needs of the American people.” See

43 U.S.C. 1701(a)(7), and 1702(c). These uses include domestic livestock grazing, which is defined

as a “principal or major use.” Id. at (1).

        137.     Many of the routes that were closed in the DR considered only conservation and

failed to take into account livestock grazing, recreation, and other multiple uses.

        138.     Keeping existing routes open helps accomplish the goal of “minimization of conflicts

among various uses of the public lands.” 43 C.F.R. § 8342.1. Transportation connectivity reduces in

and out traffic and can spread out use. Additionally, keeping roads open provides the traveling public

access while reducing the need and desire to pioneer new and unauthorized routes.

        139.     The DR violates FLPMA by failing to manage the public lands according to the

standards set forth in the immediately preceding paragraphs.

C.      Failure to Provide Consistency Review with Utah State Land Management Plans

        140.    Under FLPMA, when developing or creating Resource Management Plans, the BLM is

required to coordinate its land use inventory, planning, and management activities for such lands with

the land use planning and management programs of the states within which the lands are located. 43

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U.S.C.A. § 1712(c)(9).

        141.     The BLM also is required in the development of land use plans to ensure that

consideration is given to the applicable state, local, and tribal plans “and to resolve, to the extent

practical, inconsistencies between Federal and non-Federal Government plans.” Id.

        142.     FLPMA further mandates that BLM land use plans “shall be consistent with state and

local plans to the maximum extent [the Agency] finds consistent with federal law and the purposes of

this Act.” Id.

        143.     In addition to the coordination and consistency requirements, CEQ regulations

require federal agencies to discuss the conflicts between the proposed action and the objectives of

state and local plans. 40 CFR § 1502.16.

        144.     The State of Utah has a duly adopted resource management plan. Utah State Resource

Management Plan, (“Utah SRMP”), available at:

https://storymaps.arcgis.com/collections/81d4406668e34acca4d98275ee41cd07?item=1(2022).

        145.     The Utah SRMP includes locally adopted objectives and policies for federal land

management and includes findings, provisions, and policies relating to natural resource development

and environmental quality relevant to the current planning process.

        146.     In addition to the Utah SRMP, UTAH CODE § 63J-8-104(h)(i) also establishes the

State’s position that BLM land-use plans should “keep open to motorized travel, any road in the

subject lands that is part of the respective counties’ duly adopted transportation plan.” BLM has

failed to follow the provisions of FLPMA; its DR is inconsistent with the Utah SRMP, and BLM

completely failed to discuss these inconsistencies or make any attempt to resolve them.

        147.     The State’s position is that travel management decisions are the core management

decision upon which many other BLM decisions rest. Implementation-level decisions for recreation,

livestock grazing, resource extraction, and many other uses of BLM land revolve around the decisions

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made in BLM TMPs. Thus, the State finds that BLM TMPs qualify as BLM “land use plans” as

intended by FLPMA. BLM regulations also allow the governor of the involved state to review BLM

land use plans and evaluate them for consistency with state and local plans. A governor may then

submit a “Governors Consistency Review” letter to the BLM. See 43 C.F.R. § 1610.3-2(e).

       148.     Accordingly, on October 25, 2023, Utah Governor Spencer J. Cox submitted a

Governor’s Consistency Review letter concerning the Labyrinth/Gemini Bridges TMP to the BLM

State Office. The Governor’s letter explained the inconsistencies between the BLM’s

Labyrinth/Gemini Bridges TMP and corresponding State plans. See Exhibit #10, Governor’s

Consistency Review letter, at 1. On November 27, 2023, BLM Utah State Director Greg Sheehan

responded with a letter stating that the Labyrinth/Gemini Bridges TMP, despite its name, is an

“implementation-level” decision rather than a land use plan under FLPMA, and thus the BLM could

not accept or respond to the Governor’s Consistency Review.

       149.     The BLM has failed to explain why a travel management plan falls beyond the scope

of “land use plans” under FLPMA and thus evades the BLM’s consistency review requirements under

43 C.F.R. § 1610.3-2(e).

D.      Failure to Evaluate R.S. 2477 Roads for National Register of Historic Places and Assess
Effects

       150.     R.S. 2477 roads must be at least fifty years old, as a road must have been in existence

and used by the public for a minimum of ten years prior to October 1976. Thus, as roads that are at

least fifty years old, R.S. 2477 roads themselves may be eligible for nomination to the National

Register of Historic Places and are subject to archaeological recording for the purpose of determining

National Register of Historic Places eligibility. 36 C.F.R. §800.4(a)(3). Historical roads, just like

other types of cultural resources, are eligible for National Register inclusion if they possess certain

aspects of integrity and meet one of more of the four National Register criteria for evaluation. 36

C.F.R. §60.4.
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        151.     Concerning integrity, 36 C.F.R. §60.4 stipulates that a cultural resource—object, site,

structure, building, or district—must possess integrity of location, design, setting, materials,

workmanship, feeling, and association. In applying the criteria for evaluation, a federal agency may

find that it is critical for a user-created, two-track road to possess the aspects of location, setting,

feeling, and association to convey significance, while the aspects of materials and workmanship are

unnecessary or irrelevant to conveying significance.

        152.     The regulation further requires that a cultural resource is: (a) “… associated with

events that have made a significant contribution to the broad patterns of our history; or (b) …

associated with the lives of persons significant in our past; or (c) … embody the distinctive

characteristics of a type, period, or method of construction, or that represent the work of a master, or

that possess high artistic values, or that represent a significant and distinguishable entity whose

components may lack individual distinction; or (d) … have yielded, or may be likely to yield,

information important in prehistory or history”. 36 C.F.R. §60.4(a)-(d).

        153.     R.S. 2477 roads that are eligible for inclusion in the National Register of Historic

Places would then be considered “historic properties” under Section 106 of the National Historic

Preservation Act. 54 U.S.C. § 306108. During the BLM’s development of the Labyrinth/Gemini

Bridges TMP, the State urged the BLM to record the R.S. 2477 roads during its archaeological

surveys and evaluate them for National Register of Historic Places eligibility per the National

Register criteria for evaluation. See 36 C.F.R. §60.4 above. The State also urged the BLM to assess

how closure of the National Register-eligible R.S. 2477 roads could adversely affect those historic

properties and to seek ways to avoid, minimize, or mitigate adverse effects to those historic properties

pursuant to 36 C.F.R. §800.6. However, the BLM failed to do so.

        154.     Closing an R.S. 2477 road (that is eligible for the National Register of Historic

Places) to motorized traffic may have adverse effects on the historic character of the R.S. 2477 road.

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Adverse effects occur when an undertaking, such as the closure of a National Register-eligible road,

“may alter, directly or indirectly, any of the characteristics of a historic property that qualify the

property for inclusion in the National Register in a manner that would diminish the integrity of the

property’s location, design, setting, materials, workmanship, feeling or association” [36 C.F.R.

§800.5(a)(1)]. Closure of a historic R.S. 2477 road may cause an adverse effect by diminishing the

integrity of one or more of these seven aspects. For example, closure may amount to neglect and

deterioration of the historic property (36 C.F.R. §800.5(a)(2)(vi)), and natural reclaiming of the road

due to lack of use may “change the character of the property’s use or physical features that contribute

to its historic significance” (36 C.F.R. §800.5(a)(2)(iv)).

       155.      In addition to being a Cooperating Agency, the State was also a “Consulting Party”

to the BLM’s Labyrinth/Gemini TMP’s Section 106 process. As a consulting party, the State

explained to the BLM that R.S. 2477 roads are cultural resources that may be eligible for nomination

to the National Register of Historic Places in a letter dated April 11, 2023. See Exhibit #13, Section

106 Consultation Letter. The State provided the BLM with locational information about each R.S.

2477 road within the Labyrinth/Gemini Bridges TMA and explained why these roads should be

included in the Section 106 process by citing some specific examples, such as Hey Joe Canyon Road

(County Road #1527). In spite of the State’s engagement in the Section 106 process, the BLM

ignored R.S. 2477 roads as cultural resources that were (1) located directly in the archaeological

survey areas for the TMP (2) identified by the State (in its capacity as a Section 106 consulting party)

that provided locational information and a rationale for including these cultural resources, (3)

qualified as a type of cultural resource that must be recorded per BLM’s own standards and

guidelines and by agreement documents between the agency and the Utah State Historic Preservation

Office, and (4) when eligible for National Register inclusion, assessed for effects. By failing to

consider these recommendations by the State in its role as a Section 106 consulting party, and by

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ignoring its own guidance, the BLM has failed to complete the Section 106 process for the

Labyrinth/Gemini Bridges TMP.

E.     Conflict of Interest by BLM Principal Deputy Director

       156.      The 2017 SUWA Settlement Agreement, which required the BLM to develop the

Labyrinth/Gemini Bridges TMP, was signed by several plaintiffs, including The Wilderness Society.

See Exhibit #5, at 33.

       157.      The Wilderness Society was represented by the “Senior Counsel and Director” for its

“BLM Action Center.” Id.

       158.      That individual was appointed as the BLM’s Deputy Director for Policy and Programs

in February 2021. She was later promoted to the BLM’s Principal Deputy Director.

       159.       The State possesses information and belief that, despite being a plaintiff signatory to

the 2017 SUWA Settlement Agreement, the BLM’s Principal Deputy Director has not recused herself

but has instead been directly involved in the development of the BLM’s DR for the Labyrinth/Gemini

Bridges TMP.

                                        CLAIMS FOR RELIEF

                                     FIRST CAUSE OF ACTION
                    Violation of the APA: Unlawful Arbitrary and Capricious Action

       160.       Plaintiffs reallege and incorporate by reference all allegations contained in paragraphs

1 through 159.

       161.       The Administrative Procedures Act authorizes the setting aside of agency action

found to be arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law; in

excess of statutory jurisdiction, authority, or limitations; without observance of procedures required by

law, and unwarranted or unsupported by the facts. 5 U.S.C. 706(2). There must be a “rational

connection between the facts found and the choice made.” See Motor Vehicle Mfrs. Ass'n of U.S., Inc.

v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 56, 103 S. Ct. 2856, 2873, 77 L. Ed. 2d 443 (1983).
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       162.      As set forth in detail above in paragraphs 60 through 65 and 116 through 131, a

thorough analysis of specific facts underlying BLM’s decision reveals that the BLM acted arbitrarily

and capriciously in closing 114 miles of roads subject to the State of Utah’s pending Quiet Title

action, Grand County v. United States, 2:12-cv-00466-CW.

       163.      As alleged above, BLM’s DR, which closes 114 miles of roads subject to Plaintiffs’

pending Grand County R.S. 2477 case will impair Plaintiffs’ ability to conduct discovery for the

roads subject to the pending Quiet Title lawsuit.

       164.      As alleged above, driving on the roads with fact witnesses is an essential part of

Plaintiffs’ established discovery process, an action now prohibited on 114 miles of claimed roads

under the BLM’s DR.

       165.      As alleged above, closure of roads subject to Plaintiffs’ pending Grand County R.S.

2477 Quiet Title lawsuit will increase the rate at which vegetation naturally grows in the roadbed,

obscuring evidence of the roads’ existence and condition. This process of natural reclamation by

vegetation growth further deteriorates evidence critical to Plaintiffs’ pending Quiet Title lawsuit.

       166.      BLM’s DR is arbitrary, capricious, and contrary to law in violation of the APA, 5

U.S.C. § 706 for materially interfering with Plaintiffs’ discovery process and causing the deterioration

of evidence central to the Plaintiffs’ ongoing Grand County R.S. 2477 litigation.


                                 SECOND CAUSE OF ACTION
     Violation of Federal Case Law: Diminished Access to State-owned Land managed by SITLA

       167.      Plaintiffs reallege and incorporate by reference all allegations contained in paragraphs

1 through 166.

       168.      As alleged above in paragraphs 39 through 48 and 132-139, BLM’s DR closes access

to two sections of property owned by the State of Utah and administered by SITLA, which will result

in a direct adverse economic impact. Specifically, BLM’s DR will result in loss of access or

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restriction of access to thousands of acres of property, which in turn will result in reduced

marketability and diminished per-acre value by as much as fifty percent. The collective loss of the

value of these lands will be in the hundreds of thousands of dollars.

       169.      Continued access to these sections is paramount for fulfilling the intent of the original

land grant from the United States. The closure of access roads severely limits the potential uses of

these lands and their accessibility, thereby reducing their attractiveness to potential buyers or lessees.

       170.      The United States may regulate the method and route of access to state school trust

lands; however, that regulation cannot prevent the state or its lessee from gaining access to its land,

nor may it be so prohibitively restrictive as to render the land incapable of full economic

development. State of Utah v. Andrus, 486 F. Supp. 995 (D. Utah 1979) (commonly referred to as the

Cotter Decision).

       171.      BLM’s DR violates the Cotter decision by cutting off and diminishing access to two

sections of lands owned by the State of Utah and administered by SITLA.

       172.      Those sections had motorized access prior to the DR and many of them had multiple

routes of motorized access. The DR effectively eliminates access, which will deprive the State and

SITLA of the full economic value of their land, in violation of the law.

       173.      The lack of available roads, even if they are only “paper routes” (i.e., routes that are

only visible on maps but are reclaimed on the ground), will substantially impair actual access to those

parcels and increase the amount of time and financial capital necessary for prospective lessees to

access those lands, which will undoubtedly render those lands “incapable of full economic

development.” Id.

                                THRID CAUSE OF ACTION
Violation of FLPMA: Failure to Provide render TMP Consistent with Utah Land Management Plans
                  or Provide Opportunity for Governor’s Consistency Review

       174.      Plaintiffs reallege and incorporate by reference all allegations contained in

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paragraphs 1 through 173.

       175.      As alleged in paragraphs 69 through 75 and 140-149, the BLM’s TMP and DR are

not consistent with the State’s duly adopted Resource Management Plan.

       176.      FLPMA requires the BLM to develop “land use plans” to govern the management

and use of BLM lands. 43 U.S.C. § 1712(a).

       177.      FLPMA requires that BLM land use plans be “consistent with State and local plans to

the maximum extent [the Secretary of Interior] finds consistent with Federal law and the purposes of

[FLPMA].” 43 U.S.C. § 1712(c)(9).

       178.      Regulations implementing FLPMA require the BLM to provide state governors with

the opportunity to submit a “Governor’s Consistency Review” of a BLM land use plan, and further

require the BLM to consider and analyze the Governor’s recommendations. 43 C.F.R. § 1610.3-2(e).

       179.      The BLM denies that travel management plans are “land use plans” under FLPMA,

and therefore alleges that the FLPMA requirements of 43 U.S.C. § 1712(c)(9) or the regulatory

requirements of 43 C.F.R. § 1610.3-2(e) do not apply to travel management plans.

       180.      The BLM has not justified its reasoning that travel management plans are merely

“implementation level decisions” that do not fall under the auspices of FLPMA land use plans.

       181.      The BLM has violated FLPMA and its implementing regulations by not seeking

consistency between its DR and the State Resource Management Plan, and by failing to provide the

Governor of Utah with the formal opportunity to submit a Governor’s Consistency Review of the DR.

                                FOURTH CAUSE OF ACTION
       Violation of FLPMA: Failure to comply with Multiple Use and Sustained Yield Mandate

       182.      Plaintiffs reallege and incorporate by reference all allegations contained in paragraphs

1 through 181.

       183.      As alleged in paragraphs 76-80, under FLPMA, the guiding principle in the

management of public lands generally, and the RMPs specifically, is multiple use and sustained yield.
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43 U.S.C. § 1732(a).

        184.       “Multiple use” is defined as “management of public lands and their various resources

so that they are utilized in the combination that will best meet the present and future needs of the

American people” Id. § 1702(c).

        185.       These resources include, but are not limited to, “recreation, range, timber, minerals,

watershed, wildlife and fish, and natural scenic, scientific and historical values.” Id.

        186.       “Sustained yield” is defined as “the achievement and maintenance in perpetuity of a

high-level annual or regular periodic output of various renewable resources of the public lands

consistent with multiple use.” Id. § 1702(h).

        187.      FLPMA requires the BLM to manage public lands according to multiple use and

sustained yield principles, in order to “meet the present and future needs of the American people.” See

43 U.S.C. § 1701(a)(7), and § 1702(c). These uses include domestic livestock grazing, which is

defined as a “principal or major use.” Id. at (1).

        188.       The BLM’s DR closed roads based upon a rationale that only considers conservation

and fails to take into account livestock grazing, wildlife management, motorized recreation and travel

and other uses.

        189.       Keeping existing routes open helps accomplish the goal of “minimization of conflicts

among various uses of the public lands.” 43 C.F.R. § 8342.1. Transportation connectivity reduces in

and out traffic and can spread out use. Additionally, keeping roads open provides the traveling public

access while reducing the need and desire to pioneer new and unauthorized routes.

        190.       BLM’s DR violates FLPMA by failing to manage the public lands of the

Labyrinth/Gemini Bridges TMA in accordance with principles of multiple use and sustained yield and

is arbitrary, capricious, and otherwise not in accordance with law in violation of the APA. 5 U.S.C. §

706.

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                                 FIFTH CAUSE OF ACTION
   Violation of FLPMA and other Federal Statutes: Unlawful De Facto Wilderness Management on
                                        Non-WSA Lands

        191.        Plaintiffs reallege and incorporate by reference all allegations contained in paragraphs

1 through 190.

        192.       Constitutional authority to classify and manage public lands resides with Congress.

United States Constitution, Article IV, Section 3 cl. 2. In various federal laws, including but not

limited to the Taylor Grazing Act (“TGA”), 43 U.S.C. §§315-315q, FLPMA, 43 U.S.C. §§1701 et

seq., the 1872 Mining Law, as amended, 30 U.S.C. §§20, et seq., and the Mineral Leasing Laws

(“MLA”), 30 U.S.C. §§181, et seq., Congress has delegated its constitutional authority to Defendants

to manage public lands. This delegated authority is defined and limited by the terms of the respective

federal statute.

        193.        While the BLM’s DR closing 317.2 miles of roads in the Labyrinth/Gemini Bridges

TMA does not use the term “wilderness” to define its protective management of non-WSA lands,

there is no question that the practical effect is to create WSA-type management.

        194.        As set forth above in paragraphs 66 through 68 and 81-95, BLM’s wilderness review

authority under §603 of FLPMA, 43 U.S.C. §1782(c), has terminated, and as a result, BLM must “not

manage or otherwise treat public lands, other than §603 WSAs. . . as WSAs or as wilderness pursuant

to the [FLPMA] §202 process.”

        195.        BLM may not create §202 WSAs and may not “treat” public lands as WSAs through

its land use and transportation management planning processes. The BLM’s DR unlawfully treats the

non-WSA lands of the Labyrinth/Gemini Bridges TMA as a de facto WSA lands.

        196.        Notably, FLPMA does not preclude individual protections associated with the

concept of wilderness that may be afforded through the land use planning process, such as through the

establishment of ACECs. 43 U.S.C. §1702(a). In doing so, specific statutory and regulatory criteria

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must be met, including a finding that special management attention is required to prevent irreparable

damage. Id. Proposed ACEC designations are not a substitute for a wilderness suitability

determination, nor may they be offered as a means to manage non-WSA lands as wilderness.

        197.    When appropriate, BLM may also limit OHV use or establish mitigation measures,

stipulations, or conditions of use to be attached to permits, leases, and other authorizations to avoid or

minimize impacts to individual resource values. BLM, however, may not use the land or

transportation management planning process to create de facto wilderness similar to the management

of WSAs to the exclusion of multiple use.

        198.    BLM’s reconsideration and DR treat the area of the newly closed roads as if they

were WSAs and violates any sound and legally supported interpretation of FLPMA and other federal

statutes.

        199.    Defendants have acted arbitrarily and capriciously in issuing the BLM’s DR and have

closed 317.2 miles of roads and road segments because they traverse lands considered by SUWA and

other environmental groups to be a de facto Red Rock Wilderness similar to what has been proposed

under the Red Rock Wilderness Act. See Exhibit #4. A favorable decision from this Court will redress

the legal injuries to Grand County, the State of Utah and SITLA and remove immediate barriers to

multiple use of the affected public lands, including access to lands owned by the State and managed by

SITLA, wildlife management, transportation management and livestock grazing, and support key

components of the State’s and County’s land use and transportation plans. Such a determination and

permanent injunction will leave the Utah wilderness debate where it belongs as provided for by law,

with the United States Congress.

                                 SIXTH CAUSE OF ACTION
   Violation of NHPA Section 106 Regulations: Failure to Evaluate R.S. 2477 Roads for National
                    Register of Historic Places Eligibility and Assess Effects

        200.    Plaintiffs reallege and incorporate by reference all allegations contained in paragraphs

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1 through 199.

        201.      As alleged above in paragraphs 111 through 115 and 150-155, the federal regulations

implementing Section 106 of the NHPA provide procedures for the BLM to meet its requirement to

evaluate cultural resources for National Register eligibility and assess effects of National Register-

eligible properties.

        202.       The BLM failed to evaluate historical R.S. 2477 roads within the Labyrinth/Gemini

Bridges TMA as cultural resources eligible for National Register of Historic Places consideration.

Consequently, the agency also failed to assess effects to R.S. 2477 roads that are eligible for National

Register inclusion.

        203.      The State, acting as a Section 106 Consulting Party, submitted documentation of its

knowledge and concerns to the BLM that R.S. 2477 roads within the Labyrinth/Gemini Brides TMA

are cultural resources at least fifty years old, are eligible for National Register of Historic Places

evaluation, and, if eligible for National Register inclusion, may be adversely affected by the TMP.

        204.      Despite the State submitting this documentation, the BLM still did not take any

action to evaluate R.S. 2477 roads for National Register of Historic Places eligibility and assess

effects to those roads eligible for National Register inclusion.

        205.      The BLM has violated the implementing regulations of Section 106 of the NHPA by

arbitrarily and capriciously failing to evaluate R.S. 2477 roads for National Register of Historic

Places eligibility and assess effects to National Register-eligible roads, despite the specific request by

a Section 106 Consulting Party to do so.


                                   SEVENTH CAUSE OF ACTION
               Violation of the APA: Unlawful Arbitrary and Capricious Conflict of Interest

        206.      Plaintiffs reallege and incorporate by reference all allegations contained in paragraphs

1 through 205.

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       207.      As alleged above in paragraphs 156 through 159, the signatory for one of the

plaintiffs in the 2017 SUWA Settlement Agreement (the document requiring the BLM to initiate the

Labyrinth/Gemini Bridges TMP) now serves as the Principal Deputy Director for the BLM.

       208.      It is the information and belief of the State that the BLM’s Principal Deputy Director

has been directly involved in the development of the Labyrinth/Gemini Bridges TMP and the

decision-making process leading to the final decision in the BLM’s DR.

       209.     BLM acted arbitrarily, capriciously, and contrary to law, in violation of the APA, 5

U.S.C. § 706, by allowing its Principal Deputy Director to participate in the decision-making process

for the Labyrinth/Gemini Bridges TMP and DR despite her pervious involvement as counsel for a

plaintiff environmental organization in the 2017 SUWA Settlement Agreement.


                                       PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs respectfully request that this Court grant relief against Defendants as

follows:

       1.         Declare and set aside the DR as unlawful and find that Defendants’ closure of 114

miles of roads subject to Plaintiff’s pending Quiet Title action arbitrarily and capriciously interferes

with the Plaintiffs’ discovery process and ability to collect evidence in its ongoing Grand County R.S.

2477 lawsuit.

       2.         Declare unlawful and set aside the DR because it deprives the State and SITLA of

legally protected access to State-owned Trust Lands administered by SITLA.

       3.         Declare and set aside BLM’s DR as unlawful because Defendants failed to seek

consistency with the Utah Resource Management Plan or provide a formal opportunity for the

Governor of Utah to submit a Governor’s Consistency Review.

       4.         Declare and set aside BLM’s DR as unlawful because Defendants failed to follow

and violated FLPMA’s mandate to manage the public lands of the Labyrinth/Gemini Bridges TMA in
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accordance with principles of multiple use and sustained yield.

        5.          Declare and set aside the DR as unlawful and find that Defendants acted beyond

their statutory authority to manage the lands accessed by the 317.2 total miles of closed roads, that

Defendants are unlawfully managing lands as de facto wilderness in violation of FLPMA and other

federal statutes.

        6.          Declare and set aside the BLM’s DR as unlawful under the regulations

implementing Section 106 of the NHPA because the BLM failed to evaluate R.S. 2477 roads for

National Register of Historic Places eligibility and assess effects of the DR on historic properties.

        7.          Declare and set aside the BLM’s DR as unlawful due to the BLM allowing its

Principal Deputy Director to participate in the decision-making process for the DR despite being a

signatory for a plaintiff organization in the 2017 SUWA Settlement Agreement.


                          Respectfully submitted this 29th day of May, 2024.

                                               UTAH ATTORNEY GENERAL’S OFFICE

                                               /s/ Jake Garfield
                                               Kathy A.F. Davis
                                               Jake Garfield
                                               Assistant Attorneys General
                                               Kendall Laws
                                               Special Assistant Attorney General
                                               Counsel for Plaintiffs




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                                   LIST OF EXHIBITS


1. Labyrinth/Gemini Bridges Travel Management Plan Decision Record

2. Map of R.S. 2477 Roads Closed by Decision Record

3. 2008 Moab Field Office Resource Management Plan, Map #2, Designated Route Map

4. Map of Proposed Wilderness Areas in America’s Red Rock Wilderness Act

5. 2017 SUWA Settlement Agreement

6. Labyrinth/Gemini Bridges TMP Cooperating Agency MOU

7. State of Utah April 2021 Comment Letter

8. State of Utah December 2021 Comment Letter

9. State of Utah October 2022 Comment Letter

10. Utah Governor’s Consistency Review Letter

11. Map of SITLA Parcels with Access Blocked by Decision Record

12. Summary of Depositions on R.S. 2477 Roads Closed by Decision Record

13. April 2023 Section 106 Consultation Letter




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